Case 2:22-cv-02684-JTF-atc Document 16-3 Filed 11/01/23 Page 1 of 1          PageID 67


                              IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TENNESSEE
__________________________________________
FedEx Supply Chain Logistics & Electronics, Inc.


v.
                                                               2:22-cv-02684
                                                     Case No. _______________________
James Goodman
__________________________________________

           ANSWER OF GARNISHEE FOR FUNDS OTHER THAN SALARIES,
                 WAGES OR EARNINGS OF JUDGMENT DEBTOR


Comes the garnishee, ___________________________________________, and makes oath as

follows:

1. That, at the time of service of this garnishment, the garnishee was indebted to the

judgment debtor in the amount of $________________________________ as a result of

_________________________________________________________________________________

2. That the garnishee had the  following property, debts, or effects belonging to the
judgment debtor in his possession or under his control: (If the garnishee is holding a
sum of money, list the exact amount; if the property is not money, specify the type of
property, debt(s) or effects.)

a. At the time of service of the garnishment: _______________________________________

_________________________________________________________________________________

b. At the time the garnishee answered the garnishment: ___________________________

_________________________________________________________________________________

c. Between the time of service of the garnishment and the time the garnishee answered

the garnishment: ________________________________________________________________

3. That, to the knowledge and belief of the garnishee, the following other person(s) have
in his/their possession or control the following property, debts, or effects belonging to
the judgment debtor: (List the name and address of any such person and describe the
property, debts or effects.)




Pursuant to T.C.A. § 26-2-204, by signed below, I certify under oath that the above
information is true and correct.

                                        _____________________________________________
                                                            Garnishee
                                                                               FORM 7
